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P'ETER G. ElKENBERRY

7 HANOVER SQL|ARE, 8TH FLOOR

NEW YORK, NEW YORK 10004
TEL; (2\2) 385-1050
FAX= (2:2) 385-1017
pete@eikenberrylaw.com

December 7 , 2015

Via ECF

The Honorable Steven M. Gold
Chief Magistrate Judge

Eastern District of New York
United States Courthouse

225 Cadman Plaza East

Room l 2 l 7

Brooklyn, NY l 1201

Sorenson .' Simpson
CV 1 5-4614

Dear Judge Gold:

Please be advised that I am counsel of record in the above styled matter. There is an initial
conference scheduled for 10:00 am on December 9, 2015. Please be informed that the summons
and complaint were never served and, thus, no answer has been filed.

Around the time the complaint was filed, l experienced severe pains in my right leg which
was first diagnosed as muscle spasms, then as a compressed disk and then as an arthritic hip. l have
been operating at a reduced capacity up to the present time and finally had a right hip replacement
on October 30. By the series of physical events, I have been convinced that it is time I retired and
spend more time on writing and in other activities such as a new Civic Education Committee to
which Chief Judge Katzmann has just named me.

l have been interviewing counsel to replace me in the above styled matter and may be close
to identifying a replacement to substitute for me. l am wondering if there is a purpose to be served
by a conference on Wednesday.

Respectfully enquired,

fm 61/9»

PGEikenberry
/rb

